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                                               April 15, 2025


BY E-FILING

The Honorable Leonard P. Stark
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, NW
Washington, D.C. 20439

                   Re:       Crystallex International Corp. v. Bolivarian Republic of Venezuela
                             No. 1:17-mc-00151-LPS

Dear Judge Stark:

                   Pursuant to the Court’s April 14, 2025 Order (D.I. 1713), please see below the

public dial-in line for members of the public to listen into the in-person hearing scheduled for April

17, 2025, at 10:00 a.m. in Wilmington, Delaware:

                   Dial In:         305-224-1968
                   Passcode:        864068
                   Meeting ID:      854 0482 1256

                                                   Respectfully submitted,

                                                   /s/ Alexandra M. Cumings

                                                   Alexandra M. Cumings (#6146)

cc:      All Counsel of Record
